178 F.2d 404
    George E. CROW, Appellant,v.OHIO CASUALTY INSURANCE COMPANY, Appellee.J. E. (Bill) DECKER and George E. Crow, Appellants,v.John KLINGLER, Appellee.
    No. 12855.
    No. 12936.
    United States Court of Appeals Fifth Circuit.
    January 6, 1950.
    Rehearing Denied February 3, 1950.
    
      Appeals from the United States District Court for the Northern District of Texas; Wm. H. Atwell, Judge.
      J. W. Hassell, Dallas, Tex., F. Neilson Rogers, Sherman, Tex., for appellants.
      W. C. Gowan, Dallas, Tex., for appellees.
      Before McCORD, and WALLER, Circuit Judges, and RICE, District Judge.
      PER CURIAM.
    
    
      1
      These two appeals have been consolidated by the court upon motion of the parties, since they present substantially similar issues of law and fact.
    
    
      2
      From a careful consideration of the records in both cases, and of each and every specification of error relied upon by appellants, we conclude that no new or novel question is here presented, and that the judgments in both appeals should be affirmed upon authority of McDonald v. Mabee, 243 U.S. 90, 37 S.Ct. 343, 61 L.Ed. 608, L.R.A.1917F, 458, and Pennoyer v. Neff, 95 U.S. 714, 24 L.Ed. 565. See also, Simon v. Southern Ry. Co., 236 U.S. 115, 116, 35 S.Ct. 255, 59 L.Ed. 492.
    
    